                      Case 1:22-cr-00354-RCL Document 34 Filed 03/02/23 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                   District
                                             __________     of Columbia
                                                         District of __________


             UNITED STATES OF AMERICA                          )
                             Plaintiff                         )
                               v.                              )      Case No.     1:22-cr-00354-RCL-1
                     Richard Slaughter                         )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          DEFENDANT RICHARD SLAUGHTER                                                                                  .


Date:          03/02/2023                                                                /s/ John M. Pierce
                                                                                          Attorney’s signature


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